Case 4:20-cv-00957-SDJ   Document 701-6 Filed 12/09/24   Page 1 of 23 PageID #:
                                    38982




                   EXHIBIT 131
                         REDACTED
Case 4:20-cv-00957-SDJ   Document 701-6 Filed 12/09/24    Page 2 of 23 PageID #:
                                    38983




                                 In the Matter Of:

               In Re - Google Digital Advertising Antitrust Litigation




                               September 06, 2024




                         ElEXITASm




                                                                GOOG-AT-MDL-C-000088549
Case 4:20-cv-00957-SDJ   Document 701-6 Filed 12/09/24   Page 3 of 23 PageID #:
                                    38984

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 1       IN THE UNITED STATES DISTRICT COURT

 2     FOR THE SOUTHERN DISTRICT OF NEW YORK

 3

 4
       IN RE: GOOGLE DIGITAL :        CIVIL ACTION
 5     ADVERTISING ANTITRUST :        NO.
       LITIGATION            .        21-MD-3010-
 6                           .
                             •        PKC

 7
                 - HIGHLY CONFIDENTIAL -
 8

 9
                    September 6, 2024
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12                  Videotaped deposition of
                     taken pursuant to notice,
13    was held at the law offices of
      Freshfields Bruckhaus Deringer, 3 World
14    Trade Center, New York, New York,
      beginning at 9:35 a.m., on the above
15    date, before Michelle L. Ridgway, a
      Registered Professional Reporter,
16    Certified Shorthand Reporter, Certified
      Realtime Reporter, Certified Court
17    Reporter, and Notary Public.

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                                                               GOOG-AT-MDL-C-000088550
Case 4:20-cv-00957-SDJ           Document 701-6           Filed 12/09/24   Page 4 of 23 PageID #:
     In Re - Google Digital Advertising Antitrust Litigation
                                                   38985
                                               Highly Confidential              September 06, 2024
                                                                                           92
 1                 break?

 2                            MS. FORKNER:            Sure.

 3                            THE VIDEOGRAPHER:                The

 4                 time is 11:40 a.m.                 We are going

 5                 off the record.

 6                            (Short break.)

 7                            THE VIDEOGRAPHER:               It is

 8                 11:52 a.m.           We are back on the

 9                 record.

10     BY MR. KOROLOGOS:

11                 Q.         Hello again.

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16                 Q.         What is a header bidding

17     line item limit?

18                            MS. FORKNER:            Objection to

19                 form.

20                            THE WITNESS:            I think

21                 answering that requires sort of

22                 context as to what line items

23                 are.

24                            Line items -- and header

25                 bidding line item limit is not



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                                                                                 GOOG-AT-MDL-C-000088641
Case 4:20-cv-00957-SDJ           Document 701-6           Filed 12/09/24   Page 5 of 23 PageID #:
     In Re - Google Digital Advertising Antitrust Litigation
                                                   38986
                                               Highly Confidential              September 06, 2024
                                                                                           93
 1                 really a header bidding line

 2                 item limit, it's just a line

 3                 item limit.

 4     BY MR. KOROLOGOS:

 5                 Q.         Okay.

 6                 A.         DoubleClick for Publishers,

 7     and now GAM, allows publishers to manage

 8     direct relationships with advertisers,

 9     relationships with other SSPs, et

10     cetera, in fairly sophisticated ways,

11     where different deals or relationships

12     can be represented through line items.

13                            And a line item has

14     targeting associated with it.                          So only

15     on my sports pages or whatever it --

16     whatever it happens to be.

17                            And so these line items

18     represent business logic that are

19     targetable and actionable within

20     serving, in terms of how to express how

21     a publisher wants to manage ads on their

22     site.

23                            By default, Ad Manager

24     allows publishers to create 65,000 line

25     items.        And they can create as many or


     www.LexitasLegal.com/Premier                   Lexitas                  888-267-1200 Page 93



                                                                                 GOOG-AT-MDL-C-000088642
Case 4:20-cv-00957-SDJ           Document 701-6           Filed 12/09/24   Page 6 of 23 PageID #:
     In Re - Google Digital Advertising Antitrust Litigation
                                                   38987
                                               Highly Confidential              September 06, 2024
                                                                                           94
 1     as few as they want to meet their

 2     business needs.

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19                            And there's a line item

20     type called price priority, which you

21     can set a value associated with that

22     particular line item so if it's

23     targeted, it's now eligible, and we look

24     at all of the line items that are

25     eligible to serve.


     www.LexitasLegal.com/Premier                   Lexitas                  888-267-1200 Page 94



                                                                                 GOOG-AT-MDL-C-000088643
Case 4:20-cv-00957-SDJ           Document 701-6           Filed 12/09/24   Page 7 of 23 PageID #:
     In Re - Google Digital Advertising Antitrust Litigation
                                                   38988
                                               Highly Confidential              September 06, 2024
                                                                                           95
 1                            And from a price priority

 2     perspective, we take the highest price

 3     of all the line items that are targeted.

 4                            So line item limits have

 5     been around since the very beginning of

 6     Ad Manager.            And we need limits.

 7                            And to be clear, these are

 8     active line item limits.                     You can create

 9     a million line items in our system.                           But

10     only 65,000 can be active at a time,

11     because we then take all of those line

12     items and move them into serving in a

13     low-latency cache, where I can target

14     them and use the information and serving

15     time.

16                            The more line items we have

17     to marshal into serving, the higher the

18     resource costs.              And we have to actually

19     do budgeting ahead of time to make sure

20     we've adequately provisioned all of our

21     data centers to provision all of the

22     complex targeting that would then be

23     live, and it requires more when you have

24     more line items.

25                            So that's what a line item


     www.LexitasLegal.com/Premier                   Lexitas                  888-267-1200 Page 95



                                                                                 GOOG-AT-MDL-C-000088644
Case 4:20-cv-00957-SDJ           Document 701-6           Filed 12/09/24   Page 8 of 23 PageID #:
     In Re - Google Digital Advertising Antitrust Litigation
                                                   38989
                                               Highly Confidential              September 06, 2024
                                                                                           96
 1     limit is, to sort of make sure that

 2     we -- you know, a publisher doesn't

 3     arbitrarily make a set of changes that

 4     blow past our ability to serve ads for

 5     all of our publishers using our system.

 6                            Some publishers using

 7     header bidding decided that they want to

 8     have fairly complex setups with very

 9     fine granularity where they modeled out

10     their system and they said, I need more

11     than 65,000 line items.

12                            So this -- what is a line

13     item limit, a header bidding line item

14     limit?        It's a limit on the number of

15     line items.            It's not specific to header

16     bidding.         It's been around since the

17     beginning of DFP.                It predates me by a

18     long shot.           And it's a limit that's

19     there to ensure that our systems scale

20     effectively and one publisher doesn't

21     bring down the whole system.

22                 Q.         And you mentioned that line

23     item limits have been around as long as

24     Ad Manager.            But they predated Ad

25     Manager as well, correct?


     www.LexitasLegal.com/Premier                   Lexitas                  888-267-1200 Page 96



                                                                                 GOOG-AT-MDL-C-000088645
Case 4:20-cv-00957-SDJ           Document 701-6           Filed 12/09/24   Page 9 of 23 PageID #:
     In Re - Google Digital Advertising Antitrust Litigation
                                                   38990
                                               Highly Confidential              September 06, 2024
                                                                                          132
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 6                 I'd have to speculate.

 7     BY MR. KOROLOGOS:

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13                 Q.         What's a data transfer

14     report file?

15                 A.         Ad Manager offers to Ad

16     Manager 360 publishers an option for an

17     additional service that -- in which we

18     would provide what we call data transfer

19     files that contain event-level data of

20     all the ads served to their property.

21                 Q.         How many Ad Manager 360

22     publishers are there approximately?

23                 A.         So I don't know the answer

24     to that question off the top of my head.

25     But it's a minority, not the majority.


     www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 132



                                                                                 GOOG-AT-MDL-C-000088681
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 10 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38991
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 133



                                                                                  GOOG-AT-MDL-C-000088682
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 11 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38992
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 134



                                                                                  GOOG-AT-MDL-C-000088683
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 12 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38993
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 135



                                                                                  GOOG-AT-MDL-C-000088684
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 13 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38994
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 136



                                                                                  GOOG-AT-MDL-C-000088685
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 14 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38995
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 137



                                                                                  GOOG-AT-MDL-C-000088686
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 15 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38996
                                                Highly Confidential             September 06, 2024
                                                                                           140
  1     say, "In January of 2024, Google made

  2     available to publishers using Google Ad

  3     Manager 360 a modified bid" -- "bids

  4     data transfer report file, a joinable

  5     bids data transfer report file, that

  6     could be joined with other data transfer

  7     report files containing bid information

  8     for requests originating outside of

  9     Europe."

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13                  form.

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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 140



                                                                                  GOOG-AT-MDL-C-000088689
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 16 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38997
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 141



                                                                                  GOOG-AT-MDL-C-000088690
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 17 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38998
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 142



                                                                                  GOOG-AT-MDL-C-000088691
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 18 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    38999
                                                Highly Confidential             September 06, 2024
                                                                                           145
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 145



                                                                                  GOOG-AT-MDL-C-000088694
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 19 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    39000
                                                Highly Confidential             September 06, 2024
                                                                                           146
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 146



                                                                                  GOOG-AT-MDL-C-000088695
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 20 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    39001
                                                Highly Confidential             September 06, 2024
                                                                                           147
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 147



                                                                                  GOOG-AT-MDL-C-000088696
Case 4:20-cv-00957-SDJ            Document 701-6          Filed 12/09/24   Page 21 of 23 PageID #:
      In Re - Google Digital Advertising Antitrust Litigation
                                                    39002
                                                Highly Confidential             September 06, 2024
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      www.LexitasLegal.com/Premier                   Lexitas                 888-267-1200 Page 148



                                                                                  GOOG-AT-MDL-C-000088697
Case 4:20-cv-00957-SDJ            Document 701-6 Filed 12/09/24                      Page 22 of 23 PageID #:
                                             39003


                                        HIGHLY CONFIDENTIAL
                           ERRATA SHEET FOR THE TRANSCRIPT OF:


 Case Name:        In re Google Digital Advertising Antitrust Litigation, 1:21-md-03010 (PKC)

 Deposition Date: September 6, 2024

 Deponent:

                                              CORRECTIONS

 Page    Line                                    Change                                          Reason
  11         22                                                                           Transcription Error
  18         8    The phrase “ad to be” should read “ad be”                               Transcription Error
  29         24   The phrase “We” should read “We’d”                                      Transcription Error
  56         16                                                                           Transcription Error
  65         7                                                                            Transcription Error
  72         25                                                                           Transcription Error
  73         20                                                                           Transcription Error
  81         3                                                                            Transcription Error
  89         8                                                                            Transcription Error
  91         12                                                                           Transcription Error
  92         24   The phrase “and header” should read “and the header”                    Transcription Error
  104        23   The phrase “typically embedded” should read “typically embedded         Transcription Error
                  directly”
  111        2    The phrase “ala” should read “a la”                                     Transcription Error
  111        12   The phrase “That wasn’t” should read “No, that wasn’t”                  Transcription Error
  118        14   The phrase “out of the database” should read “out of a database”        Transcription Error
  127        24                                                                           Transcription Error


  132        23   The phrase “So I don’t” should read “I don’t”                           Transcription Error
  134        16                                                                           Transcription Error
  134        20                                                                           Transcription Error
  138        24                                                                           Transcription Error
  139        13                                                                           Transcription Error
  145        14                                                                           Transcription Error
  146        21                                                                           Transcription Error
  150        23                                                                           Transcription Error
Case 4:20-cv-00957-SDJ            Document 701-6 Filed 12/09/24              Page 23 of 23 PageID #:
                                             39004


 Page     Line                                   Change                                    Reason
  163       20                                                                      Transcription Error
  165       1     The phrase “ala” should read “a la”                               Transcription Error
  165       5     The phrase “ala” should read “a la”                               Transcription Error


 I have inspected and read my deposition and have listed all changes and corrections above, along with my
 reasons therefore.




 Date: October 4, 2024       Signatur
